     Case: 1:21-cv-06000 Document #: 9 Filed: 02/14/22 Page 1 of 5 PageID #:531




               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ROSE THOMAS,                           )
                                       )               Case No. 21-cv-06000
               Plaintiff,              )
                                       )               The Hon. Robert M. Dow, Jr.
v.                                     )
                                       )
FORD MOTOR COMPANY,                    )
                                       )               JURY DEMANDED
               Defendant.              )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s December 20, 2021 Minute Entry, Dkt. 7, Plaintiff Rose Thomas

(“Plaintiff”) and Defendant Ford Motor Company (“Defendant”) (collectively, the “Parties”),

hereby submit this Joint Initial Status Report.

       1. Nature of the Case

       a.      Attorneys of record for each party

                    i. Plaintiff Rose Thomas is represented by NaVarrio Wilkerson and Gianna

                       Scatchell of the Disparti Law Group.

                   ii. Defendant is represented by Katherine V.A. Smith, Molly Senger, and

                       Michael Jaskiw of Gibson, Dunn & Crutcher LLP; Kathleen M. Nemechek,

                       Timothy S. Millman, Jocelyn Villanueva, and Stephen M. Bledsoe of

                       Berkowitz Oliver LLP; and Derek Barella of Schiff Hardin LLP.

       b.      Basis for federal jurisdiction

                    i. Pursuant to 28 U.S.C. § 1331, the Court has federal question jurisdiction

                       over Plaintiff’s claims under Title VII (42 U.S.C. § 2000e-5).

                   ii. Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction over

                       Plaintiff’s state law claims.
Case: 1:21-cv-06000 Document #: 9 Filed: 02/14/22 Page 2 of 5 PageID #:532




 c.     Nature of the claims asserted in the Complaint.

            i. Plaintiff’s claims in this action were severed from Van et al. v. Ford Motor

               Co., No. 14-cv-8708 (N.D. Ill.) (“Van”) and reassigned to the Court on

               November 9, 2021. Dkt. 1. Plaintiff is a former employee at Ford’s

               Chicago Assembly Plant (“CAP”). In her First Amended Complaint,

               Plaintiff alleges that she was subjected to sexual harassment (Count I),

               gender discrimination (Count II), and retaliation (Count III) in violation of

               Title VII. Additionally, she alleges that she was subjected to battery (Count

               IV), assault (Count V), and intentional infliction of emotional distress

               (Count VI, preserved for purposes of appeal only).

 d.     Major legal and factual issues anticipated in the case.

            i. Whether Plaintiff was sexually harassed, and if so, whether there is a basis

               for Ford’s liability.

           ii. Whether Plaintiff was discriminated against due to her gender.

          iii. Whether Plaintiff engaged in any protected activity under Title VII and if

               so, whether Ford retaliated against Plaintiff because she engaged in alleged

               protected activity.

           iv. Whether Plaintiff suffered assault, battery, and/or intentional infliction of

               emotional distress, and if so, whether these claims are timely and whether

               Ford is vicariously liable for these torts.

           v. Whether Plaintiff suffered any damages and if so, the nature, extent and

               cause of those damages and whether they are attributable to action or

               inaction by Ford.
     Case: 1:21-cv-06000 Document #: 9 Filed: 02/14/22 Page 3 of 5 PageID #:533




      e.     Whether a jury trial has been demanded

                 i. Plaintiff has requested a jury trial.

2.    Pending Motions and Case Plan

      a.     Identify all pending motions

                 i. No motions are currently pending.

      b.     Answer deadline

                 i. Ford respectfully requests that the Court set February 28, 2022 as the

                    deadline for Ford to answer Plaintiff’s First Amended Complaint.

                ii. Plaintiff has no objection to this request.

      c.     Proposed discovery and case management plan

                 i. The Parties will conduct written and oral discovery, including serving

                    interrogatories, document requests, and conducting fact depositions.

                ii. Rule 26(a)(1) disclosures

                        1. The Parties will exchange Rule 26(a)(1) disclosures by March 30,

                            2022.

               iii. Issuance of written discovery

                        1. The Parties will issue written discovery by April 14, 2022.

               iv. The need for a proposed confidentiality order

                        1. The Parties will submit a proposed confidentiality order to the Court

                            in advance of producing any confidential documents.

                v. Fact discovery completion date

                        1. The parties anticipate completing fact discovery by August 29,

                            2022.
     Case: 1:21-cv-06000 Document #: 9 Filed: 02/14/22 Page 4 of 5 PageID #:534




                vi. If there will be expert discovery, an expert discovery completion date,

                     including dates for the delivery of expert reports;

                         1. To the extent the Parties determine expert discovery is needed, they

                             will propose a schedule to govern expert discovery to the Court prior

                             to August 29, 2022.

               vii. A proposed date for the filing of dispositive motions.

                         1. The Parties will file dispositive motions by October 28, 2022.

3.    Tentative Trial Date

      a.     Plaintiff anticipates proceeding to a jury trial three to four months after a ruling on

             any dispositive motion. Plaintiff anticipates that trial will last five (5) days.

      b.     Ford submits that because merits discovery has not begun, it is not yet feasible to

             propose a trial date or to estimate the length of trial.

4.    Consent to Proceed Before a Magistrate Judge

      a.     The parties do not consent unanimously to proceed before a Magistrate Judge.

5.    Status of Settlement Discussions

      a.     Indicate whether any settlement discussions have occurred

                 i. Before Plaintiff’s claims were severed and reassigned to the Court, Plaintiff

                     (represented by Settlement Assistance Program counsel) and Ford held a

                     settlement conference supervised by Magistrate Judge Cummings. The

                     parties’ settlement discussions were not successful. The parties have not

                     engaged in settlement discussions since Plaintiff retained her present

                     counsel.

      b.     Whether the parties request a settlement conference
    Case: 1:21-cv-06000 Document #: 9 Filed: 02/14/22 Page 5 of 5 PageID #:535




                   i. The parties do not request a settlement conference at this time. The parties

                        submit that further settlement discussions and a settlement conference may

                        be more fruitful after fact discovery has been conducted.



DATED: February 14, 2022

Respectfully submitted,                           Respectfully submitted,
 /s/ NaVarrio Wilkerson                            /s/ Katherine V.A. Smith
NaVarrio Wilkerson                                Katherine V.A. Smith (admitted pro hac vice)
Disparti Law Group, P.A.                          Molly T. Senger (admitted pro hac vice)
121 W. Wacker Drive, Suite 2300                   Michael A. Jaskiw (admitted pro hac vice)
Chicago, IL 60601                                 GIBSON, DUNN & CRUTCHER LLP
Telephone: 312.506.5511                           1050 Connecticut Avenue, N.W.
navarrio@dispartilaw.com                          Washington, D.C. 20036
                                                  Telephone: 202.955.8500
Counsel for Plaintiff                             ksmith@gibsondunn.com
                                                  msenger@gibsondunn.com
                                                  mjaskiw@gibsondunn.com

                                                  Kathleen M. Nemechek N.D. Ill. No. 50139
                                                  BERKOWITZ OLIVER LLP
                                                  2600 Grand Boulevard, Suite 1200
                                                  Kansas City, Missouri 64108
                                                  Telephone: 816.561.7007
                                                  knemechek@berkowitzoliver.com

                                                  Derek Barella
                                                  SCHIFF HARDIN LLP
                                                  233 South Wacker Drive, Suite 7100
                                                  Chicago, IL 60606
                                                  Telephone: 312.258.5500
                                                  Facsimile: 312.258.5600
                                                  dbarella@schiffhardin.com

                                                  Counsel for Ford Motor Company
